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                          IN THE UNITED STATES DISTRICT
                        COURT FOR THE DISTRICT OF SOUTH
                         CAROLINA CHARLESTON DIVISION


      IN RE: AQUEOUS FILM-                              MDL No. 2:18-mn-2873-RMG
      FORMING FOAMS PRODUCTS
      LIABILITY LITIGATION                       CASE MANAGEMENT ORDER NO. 19G
                                                   This Document Relates to All Actions

      SUPPLEMENTAL SCHEDULING ORDER GOVERNING FIRST WATER
                  PROVIDER BELLWETHER TRIAL

       This CMO No. 19G supplements, in-part, the schedule set forth in CMO No. 19F for the

Water Provider Bellwether Trial case, City of Stuart v. 3M Company, et al., (No. 2:18-cv-3487-

RMG). The resulting schedule for the selected case is as follows:

     I.    PRETRIAL MOTIONS: The Parties shall file motions in limine by March 24, 2023.
           Response in opposition briefs shall be filed by April 7, 2023.

    II.    JURY QUESTIONNAIRE:

              A. Defendants shall serve a proposed jury questionnaire by March 23, 2023 and
                 Plaintiff shall send proposed edits by March 28, 2023.

              B. The Parties shall endeavor to meet and confer throughout the process as
                 appropriate, but expressly devote March 30, 2023 – March 31, 2023 to
                 meeting and conferring to resolve disputes regarding the jury questionnaire
                 and/or objections thereto.

              C. The Parties shall submit proposed jury questionnaire (or competing
                 proposals) by April 3, 2023. The parties are directed to the undersigned’s
                 Special Instructions for more detailed information on submitting a proposed
                 jury questionnaire.

   III.    DEPOSITION DESIGNATIONS:

             A. Plaintiff shall serve in the form of an Excel spreadsheet page/line designations
                of deposition testimony to Defendants by March 3, 2023.

             B. Defendants shall serve: (1) page/line counter-designations of deposition
                testimony; (2) objections to Plaintiff’s page/line deposition designations; and
                (3) affirmative page/line designations of deposition testimony by March 24,
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          2023.

       C. Plaintiff shall serve: (1) page/line counter-designations of deposition
          testimony; (2) objections to Defendants’ page/line deposition counter-
          designations; and (3) objections to Defendants’ affirmative page/line
          designations by April 7, 2023.

       D. Defendants shall serve objections to Plaintiff’s page/line counter designations
          by April 17, 2023.

       E. All page/line designations, counter-designations, and objections shall be
          exchanged by the parties in Excel.

       F. The Parties shall endeavor to meet and confer throughout the process as
          appropriate, but expressly devote April 17, 2023 – April 26, 2023 to meeting
          and conferring to resolve disputes regarding objections to designated
          deposition testimony and/or designations (including counter-designations).

       G. The Parties shall submit deposition designations, including any objections and
          counter-designations, to the Court no later than April 28, 2023.

IV.   EXHIBITS:

        A. Plaintiff shall serve an initial exhibit list in the form of an Excel spreadsheet,
           which shall include the document production number (i.e., bates number
           range, if applicable), or, if there is no bates numbers, a brief description of
           the document by March 1, 2023. An electronic copy of the exhibits
           (excluding Expert reliance materials that are in the public domain, including
           but not limited to medical/scientific literature and learned treaties) shall also
           be provided on or before March 1, 2023.

        B. Defendants shall serve one initial master defense exhibit list in the form of an
           Excel spreadsheet, which shall include the document production number (i.e.,
           bates number range, if applicable), or, if there is no bates number, a brief
           description of the document by March 10, 2023. An electronic copy of the
           exhibits (excluding Expert reliance materials that are in the public domain,
           including but not limited to medical/scientific literature and learned treaties)
           shall also be provided by March 10, 2023.

        C. Plaintiff shall serve any supplemental exhibit list (using the same formatting
           as its original master exhibit list) by March 31, 2023. To ease the burden on
           the parties and the Court, the parties have agreed that this supplemental
           exhibit list shall contain two parts – (i) a listing of core exhibits to be offered
           in evidence (“Plaintiff’s Core Exhibit List”) limited to a presumptive
           maximum of 500 that represent those exhibits more likely to be offered in
           evidence at trial (including Expert reliance materials that are in the public
           domain, including but not limited to medical/scientific literature and learned
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            treaties that are on the Plaintiff’s Core Exhibit List) and (ii) any remaining
            exhibits from the initial list and any supplemental list that may be offered but
            Plaintiff does not presently view as likely or necessary to offer at trial. An
            electronic copy of the exhibits (not previously provided) shall also be
            provided on or before April 7, 2023.

        D. Defendants shall serve any objections to Plaintiff's Core Exhibit List by April
           14, 2023. For the avoidance of doubt, failure to object to an exhibit on
           Plaintiff’s Core Exhibit List does not waive any objection that may be raised
           at trial. Given the sheer size and scope of the evidence being marshalled for
           this trial, Defendants shall not be required to tender objections to exhibits not
           on the Core Exhibit List and are not waiving any such objections.

        E. Defendants shall serve any supplemental exhibit list (using the same
           formatting as its original master exhibit list) by March 31, 2023. To ease the
           burden on the parties and the Court, the parties have agreed that this
           supplemental exhibit list shall contain two parts – (i) a listing of core exhibits
           to be offered in evidence (“Defendants’ Core Exhibit List”) limited to a
           presumptive maximum of 500 that represent those exhibits more likely to be
           offered in evidence at trial and (ii) any remaining exhibits from the initial list
           and any supplemental list that may be offered but Defendants do not presently
           view as likely or necessary to offer at trial. An electronic copy of the exhibits
           (including Expert reliance materials that are in the public domain, including
           but not limited to medical/scientific literature and learned treaties that are on
           the Defendants’ Core Exhibit List) shall also be provided on or before April
           7, 2023.

        F. Plaintiff shall serve any objections to Defendants’ Core Exhibit List by April
           14, 2023. For the avoidance of doubt, failure to object to an exhibit on
           Defendants’ Core Exhibit List does not waive any objection that may be
           raised at trial. Given the sheer size and scope of the evidence being
           marshalled for this trial, Plaintiff shall not be required to tender objections to
           exhibits not on the Defendants’ Core Exhibit List and are not waiving any
           such objections.

        G. In addition to serving their exhibit lists on each other, the Parties will likewise
           serve their exhibit lists on counsel for the United States. Within 28 days of
           receiving each respective Parties’ exhibit lists, counsel for the United States
           will identify for the Parties in writing which listed exhibit(s) designated under
           the Protective Order, if any, the United States will object to be shown in open
           Court and the basis for such objection(s). Within fourteen days thereafter,
           the Parties will meet and confer and to the extent no agreement is reached
           with respect to a particular exhibit(s), the Parties will bring such exhibit(s) to
           the Court for a ruling on whether the exhibit(s) requires sealing of the
           Courtroom when introduced at trial. The Parties will bring such exhibit(s) to
           the Court for a ruling within seven days following the Parties meet and
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           confer.

        H. The Parties shall endeavor to meet and confer throughout the process as
           appropriate, but expressly devote April 17, 2023 – April 26, 2023 to meeting
           and conferring to resolve disputes regarding exhibits and/or objections
           thereto.

        I. The Parties shall submit an exhibit list, including any objections and counter-
           designations, to the Court no later than April 28, 2023.

        J. Given the sheer size and scope of the evidence being marshalled for this trial,
           the parties recognize and acknowledge that nothing herein shall preclude the
           use of any an exhibit or exhibit(s) at trial (subject to any evidentiary
           objections that might apply) that was inadvertently not disclosed on a party’s
           Exhibit List in accordance with the schedule above, subject to a showing of
           good cause for the failure to disclose the exhibit. Consistent with the use of
           Core Exhibit Lists as set forth above, the Parties shall endeavor address
           objections as to documents not appearing on Core Exhibit Lists prior to
           introduction or use at trial through a process to be agreed by trial counsel and
           tendered to the Court as part of the pretrial brief together with other trial
           procedures.

 V.   WITNESS LIST

         A. The parties shall file and exchange witness lists, identifying witnesses as
            “Will Call Live,” “May Call Live,” “Will Call by Deposition,” and “May
            Call by Deposition” by April 7, 2023.

         B. The parties shall meet and confer and propose a schedule for advance notice
            of when witnesses will be called at trial, as well as any direct exhibits or
            demonstratives that may be used.

VI.   JURY INSTRUCTIONS:

        A. The parties shall exchange proposed jury instructions by April 10, 2023 and
           shall exchange proposed edits to those instructions by April 20, 2023.

        B. The Parties shall endeavor to meet and confer throughout the process as
           appropriate, but expressly devote April 24, 2023 – May 3, 2023 to meeting
           and conferring to resolve disputes regarding jury instructions and/or
           objections thereto.

        C. The Parties shall submit proposed jury instructions (or competing proposals
           with supporting authorities) by May 8, 2023. The parties are directed to the
           undersigned’s Special Instructions for more detailed information on
           submitting proposed jury instructions.
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    VII.   PRETRIAL BRIEFS: The Parties shall furnish the Court with and serve their pretrial
           briefs by May 12, 2023.

   VIII.   TRIAL: This case is subject to being called for jury selection and/or trial on June 5,
           2023.


       AND IT IS SO ORDERED.
                                                                  s/Richard Mark Gergel
                                                                  Richard Mark Gergel
                                                                  United States District Judge

March 2, 2023
Charleston, South Carolina
